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      United States District Court, Eastern District of Washington
                              Magistrate Judge Mary K. Dimke
                                          Richland

 USA v. JAMES GERALD GARZA                              Case No. 2:10-CR-6069-RMP-1
                                                                 4:20-MJ-7227-MKD-1

                                        Video Conference
                        The Defendant agreed to appear via video conference.

 Initial Appearance on Supervised Release Petition                                           09/01/2020
 and Detention Hearing:

 ☒ Pam Howard, Courtroom Deputy [Y]                    ☒ Benjamin Seal, US Atty (video)
                                                       ☒ Paul Shelton, Defense Atty (video)
 ☒ David McCary, US Probation / Pretrial               ☒ Interpreter NOT REQUIRED
   Services (tele)
 ☒ Defendant present ☒ in custody USM                  ☐ Defendant not present / failed to appear
   appearing by video from Benton County Jail

 ☒   USA Oral Motion for Detention                     ☐   Rights given
 ☐   USA not seeking detention                         ☐   Acknowledgment of Rights filed
 ☒   Financial Affidavit (CJA 23) filed in 4:20-MJ-    ☒   Defense to mail a copy of petition to Defendant
     7227-MKD
 ☒   The Court will appoint the Federal Defenders      ☐   Defendant waived reading of petition
 ☐   Based upon conflict with Federal Defenders, the   ☒   Petition reviewed in open court
     Court will appoint a CJA Panel Attorney
 ☐   Conditions of Release Imposed                     ☐   Supplemental Pre-Trial Services Report ordered

 ☐   Conditions of Release as Previously Imposed       ☐   The Court ordered continued representation of
                                                           previously appointed counsel with the additional
                                                           Petition(s)
 ☐   AO 199C Advice of Penalties/Sanctions



                                               REMARKS
        Due to the current COVID-19 public health crisis, all parties including Defendant, appeared by
video or teleconference.
        USA proffered the pretrial services report and the supplemental report and concurs with its
recommendation of continued detention of the Defendant.
        USA argued why the Court should detain the Defendant and why there are no conditions of
release which will reasonably assure Defendant’s appearance as required and/or the safety of the
community.




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       Defense counsel argued why the Defendant should be released including his long-term ties to this
community and his family in this area and potential employment. Defense advised Defendant had recent
shoulder surgery and is supposed to be engaging in physical therapy.
       Defendant addressed the Court regarding status of his physical therapy.
       Court colloquy with Defense regarding therapy.
       Defense waived a preliminary hearing on the supervised release petition.


       The Court ordered:
           1. USA’s Motion for Detention is granted; subject to right to return before the Court should
              circumstances change.
           2. A Revocation Hearing in CR-10-6069-RMP is set for 9/17/2020 at 3:00 p.m. Y/RMP by
              video.
           3. That there is no combination of conditions to assure the Defendant’s appearance as
              required or conditions to ensure that Defendant is not a danger to the community.
           4. Court requests Defense to gather more information on the frequency and duration of
              physical therapy that is required to consider if Defendant can be released only for those
              purposes on a schedule and return to the jail.
           5. Defendant shall be detained by the U.S. Marshal until further order of the Court.




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